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                                 U’d1EDS1 UTSDISIRICI COUR1
                                    l)ISTRICT OF NEW JERSEY


 UNITNE STATES OF AMERJCA,                              Docket No. O4cr-1 I

           “.•s.                                        ORDER I)ENYJNG PETITION FOR
                                                        VIOLATING SUPERViSED
 GEORGE VIEIRA,                                         RELEASE


           THIS MATTER having been brought before the Court by US, Probation in the form of

 a Petition alleging that George Vieira violated a Special Condition of his supervised release; and

 George Vicira having made extensive documentary submissions to the Court; and the US.

 Attorney’s Offmce and US. Probation having indicated that no further submissions would he

 forthcoming from them; and all parties having agreed that the Court can resolve this matter on

 the papers; and the Court having considered the allegations in the Petition and the submissions of

 George Vicira; and the Court having found insufficient evidence to conclude that George Vieira

 willhtily violated a Special Condition of his supervised release as alleged in the Petition, and for

 good cause shown,

           IT IS, on this   / day of January, 2012, ORDERED that      Probation’s petition lbr a

 violation of George Vicira’s supervised release is hereby 1)ENIED.

           SO STIPULATED, AGREED ANI) CONSENTED TO:

 DATE: January 6,2012

 United States of America                          Stone & Magnanini LLP
 United States Attorne’ U Office                   Counsel for George Vieira
 For the District of ew Jersey


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    J,ehn M Fictkiewiç4GhicfLittgatio’                  Robert A. Magnanini, Est.
 Cbünsel
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 United States Probation Office
 For the District of New Jersey
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 By:
     Gisella Bassolino, United States
 Probation Officer



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